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             EXHIBIT 1
               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 2 of 47




Defendant’s Markman Hearing Presentation
   WSOU Investments, LLC d/b/a Brazos Licensing & Development v.
               OnePlus Tech. (Shenzhen) Co., Ltd.,

          Civil Action No. 6:20-cv-952, -953, -956, -957, -958
                            October 28, 2021
       Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 3 of 47




The ’876 Patent – Markman Slides




                                                                           2
’876 Patent: “…a function       of the presence
                    Case 6:20-cv-00952-ADA Document 107-2 Filedor  absence
                                                               07/12/22 Page 4 of 47 of a reception of a

data transmission”

  • Claim 1: “varying a rate for reporting channel quality information from a mobile station to a base station
     as a function of the presence or absence of a reception of a data transmission at the mobile station”




               OnePlus’s Proposed Construction                    WSOU’s Proposed Construction
         varying a rate for reporting channel         Plain and ordinary meaning; or, if the Court deems
         quality information from a mobile station    a construction necessary:
         to a base station using only the mobile
         station’s detection of the presence or       “varying a rate for reporting information about the
         absence of an actual data transmission       status of the communication channel from a
         from the base station as the trigger for     mobile station to a base station as a function of the
         varying the rate, and not varying the rate   presence or absence of a reception of a data
         based on the content of the data             transmission at the mobile station”
         transmission or any other message or
         signal instructing such action



                                                                                                                 3
WSOU’s Arguments In Sur-Reply Contradict the File History
                     Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 5 of 47




           2007-06-13 Response to Non-final Rejection




                                                                                         4
Arguments Distinguishing Prior Art Surrender Patent Scope
                     Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 6 of 47




Where an applicant argues that a claim possesses a feature that
 the prior art does not possess in order to overcome a prior art
 rejection, the argument may serve to narrow the scope of
 otherwise broad claim language. …“[S]ince, by distinguishing
 the claimed invention over the prior art, an applicant is
 indicating what the claims do not cover, he is by implication
 surrendering such protection.”

   Seachange Int'l, Inc. v. C-COR, Inc., 413 F.3d 1361, 1372–73 (Fed. Cir.
    2005) citing Rheox, Inc., 276 F.3d at 1325; Ekchian v. Home Depot,
    Inc., 104 F.3d 1299, 1304 (Fed.Cir.1997)


                                                                                         5
Applicant Distinguished        A Base
                   Case 6:20-cv-00952-ADA     Station
                                          Document             “Instructing”
                                                   107-2 Filed 07/12/22 Page 7 of 47 A Change In
Transmission Rate To Secure Allowance




          Feb. 2, 2004 Response to Non-Final Rejection at 6-7

                                                                                                   6
Applicant Repeatedly    Distinguished
                  Case 6:20-cv-00952-ADA              AFiled
                                         Document 107-2  Base07/12/22 Station
                                                                      Page 8 of 47 “Instructing” A
Change In Transmission Rate To Secure Allowance




                    Aug. 6, 2004 Response to Non-Final Rejection at 5-6
                                                                                                     7
       Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 9 of 47




The ’776 Patent – Markman Slides




                                                                           8
’776 Patent: “transmitter configured to attempt access…” (claims 1 and 10)
                                    Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 10 of 47



 Claim 10: “apparatus comprising: a transmitter configured to attempt access to a wireless network by sending … a first preamble
 comprising a signature sequence that is randomly selected from a set of signature sequences …”


 Claim 1: “method comprising: attempting access to a wireless network by sending from a transmitter … a first preamble
 comprising a signature sequence that is randomly selected from a set of signature sequences …”


                OnePlus’s Proposed Construction                              WSOU’s Proposed Construction
         This claim should be construed under 35 U.S.C.            Plain and ordinary meaning. This claim should not be
         112, ¶ 6.                                                 construed under 35 U.S.C. § 112, ¶ 6, nor is it
                                                                   indefinite.
         Function: attempting access to a wireless
         network by sending on a random access channel
         at a first transmit power a first preamble
         comprising a signature sequence
         and by randomly selecting the signature sequence
         from a set of signature sequences
         Structure: none disclosed.

         The claim is indefinite.
                                                                                                                                   9
’776 Patent: “transmitter configured to attempt access…” (claims 1 and 10)
                       Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 11 of 47




 The specification only refers to “transmitter” in the SUMMARY section




                   ’776 Patent, 2:44-55.



                                                                                            10
’776 Patent: “transmitter configured to attempt access…” (claims 1 and 10)
                      Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 12 of 47




  Dr. Cooklev’s declaration adds nothing of value:




                                                                                           11
’776 Patent: “transmitter configured to attempt access…” (claims 1 and 10)
                      Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 13 of 47




  Dr. Cooklev acknowledges a transmitter is at best “connected to” a processor:




                                                                                           12
’776 Patent: “transmitter configured to attempt access…” (claims 1 and 10)
                              Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 14 of 47




  WSOU asserts “to practice claims 1 and 10, the transmitter need only send (or be configured to send) a
   signature sequence that has already been ‘randomly selected,’ however accomplished.” WSOU Sur-Reply
   (Group 1) at 4.
  This is wrong—the claims require an “access attempt” and, as confirmed by the specification, that involves
   selecting a sequence:




’776 Patent, 5:62-66.


                                                                  ’776 Patent, Fig. 3 (cropped and highlighted).

                                                                                                                   13
’776 Patent: “transmitter configured to attempt access…” (claims 1 and 10)
                     Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 15 of 47




                       ’776 Patent, Fig. 5.
                                                                                          14
’776 Patent: “processor” (claims 10, 11, 12, 14, 15, 16, 18, 19)
                                      Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 16 of 47




  Claim 10: “a processor configured to determine that the access attempt from the first preamble was unsuccessful, and responsive to
  such determining to cause the transmitter to re-attempt access to the wireless network by causing the transmitter to send on the
  random access channel at a second transmit power a second preamble comprising a signature sequence, in which the second transmit
  power is no greater than the first transmit power”


               OnePlus’s Proposed Construction                              WSOU’s Proposed Construction
          This claim should be construed under 35               Plain and ordinary meaning.
          U.S.C. 112, ¶6.

          Function: determining that access
          attempts are unsuccessful

          Structure: none disclosed.

          The claim is indefinite.




                                                                                                                                       15
’776 Patent: “processor” (claims 10, 11, 12, 14, 15, 16, 18, 19)
                               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 17 of 47




 Dyfan, LLC v. Target Corp., 6:19-cv-179-ADA, Dkt. 57 (W.D. Tex. 2020)
                                                                                                    16
’776 Patent: “processor” (claims 10, 11, 12, 14, 15, 16, 18, 19)
                              Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 18 of 47




WSOU Investments, LLC v. Google LLC, 6:20-cv-00571-ADA, Dkt. 49 (W.D. Tex. June 2, 2021)           17
’776 Patent: “processor” (claims 10, 11, 12, 14, 15, 16, 18, 19)
                              Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 19 of 47




WSOU Investments, LLC v. Google LLC, 6:20-cv-00571-ADA, Dkt. 49 (W.D. Tex. June 2, 2021)           18
’776 Patent: “program of instructions” (claim 19)
                                  Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 20 of 47




 Claim 19: “[a] non transitory computer readable memory storing a program of instructions that when
 executed by a processor result in actions comprising: ...”


            OnePlus’s Proposed Construction                             WSOU’s Proposed Construction
       This claim should be construed under 35              Plain and ordinary meaning. This claim should not
       U.S.C. 112, ¶6.                                      be construed under 35 U.S.C. § 112, ¶ 6, nor is it
                                                            indefinite.
       Function: attempting access to a wireless
       network by sending a signature sequence on
       a random access channel

       Structure: none disclosed.

       The claim is indefinite.



                                                                                                                 19
’776 Patent: “processor” (claims 10, 11, 12, 14, 15, 16, 18, 19)
                              Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 21 of 47




WSOU Investments, LLC v. Google LLC, 6:20-cv-00571-ADA, Dkt. 49 (W.D. Tex. June 2, 2021)           20
’776 Patent: “program of instructions” (claim 19)
                               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 22 of 47




 Dyfan, LLC v. Target Corp., 6:19-cv-179-ADA, Dkt. 57 (W.D. Tex. 2020)
                                                                                                    21
’776 Patent: “program of instructions” (claim 19)
                               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 23 of 47




 Dyfan, LLC v. Target Corp., 6:19-cv-179-ADA, Dkt. 57 (W.D. Tex. 2020)
                                                                                                    22
The Court should disregard Plaintiff’s expert.
                               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 24 of 47




 The Court should disregard expert testimony as to what the specification
  discloses because “[a] party cannot transform into a factual matter the internal
  coherence and context assessment of the patent simply by having an expert
  offer an opinion on it.” Teva Pharm. USA, Inc. v. Sandoz, Inc., 789 F.3d 1335, 1342 (Fed. Cir.
 2015).
 Reliance on expert testimony also is prohibited when no algorithm is
  disclosed in the specification. See EON Corp. IP Holdings v. AT&T Mobility LLC, 785 F.3d 616,
 624 (Fed. Cir. 2015) (“Where the specification discloses no algorithm, the skilled artisan’s knowledge is
 irrelevant.”) (citing Noah Systems, Inc. v. Intuit Inc., 675 F.3d 1302, 1313 (Fed. Cir. 2012) (affirming district
 court’s exclusion of expert testimony)).
 The “total absence of structure” renders the claims invalid for indefiniteness,
  and expert testimony is not permitted to supply the absent structure. See Default
 Proof Credit Card Sys., Inc. v. Home Depot U.S.A., Inc., 412 F.3d 1291, 1302 (Fed. Cir. 2005) (“[T]he
 testimony of one of ordinary skill in the art cannot supplant the total absence of structure from the
 specification.”).


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The ’614 Patent – Markman Slides




                                                                           24
’614 Patent: “means for causing sending of a buffer information report to a system station”
                                Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 26 of 47




   Claim 6: “means for causing sending of a buffer information report to a system station”
   Claim 13: “at least one processor; and at least one memory including computer program code the at least
   one memory and the computer program code configured to, with the at least one processor, cause the
   apparatus … sending of a buffer information report to a system station”




                                                                                                             25
’614 Patent: “means for causing sending of a buffer information report to a system station”
                                 Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 27 of 47




     “If special programming is required for a general-purpose computer to
   perform the corresponding claimed function, then the default rule requiring
                       disclosure of an algorithm applies.”
                                                       Ergo Licensing, LLC v. CareFusion 303, Inc., 673 F.3d 1361, 1365 (Fed. Cir. 2012)


    “Means for causing sending” the buffer information report (which must
     be generated based on a different device’s report format) to a separate
     physical device (a system station, i.e., a device separate from the sending
     apparatus) depends on a variety of actions that require special
     programming.
    The claimed function clearly “requires more than merely plugging
     in a general-purpose computer. Rather, some special programming
     would be required … .”
              Ergo Licensing, LLC v. CareFusion 303, Inc., 673 F.3d 1361, 1365 (Fed. Cir. 2012)




                                                                                                                                       26
’614 Patent: “means for causing sending of a buffer information report to a system station”
                               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 28 of 47




       “It is only in the rare circumstances where any general-purpose
     computer without any special programming can perform the function
                    that an algorithm need not be disclosed.”
               EON Corp. IP Holdings LLC v. AT & T Mobility LLC, 785 F.3d 616, 621 (Fed. Cir. 2015) (quoting Ergo, 673 F.3d at 1365)



      This is not a “rare circumstance[]” where no special programming is
       required to accomplish the recited function. The claim requires more than
       simply “sending” generic data within a single device.

      An algorithm is required and WSOU has not shown that an algorithm is
       disclosed.




                                                                                                                                       27
’614 Patent: “means for causing sending of a buffer information report to a system station”
                                   Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 29 of 47




                                                                                                        ‘614 Pat., claim 6



        In re Katz Interactive Call Processing Pat. Litig.,
        639 F.3d 1303, 1315 (Fed. Cir. 2011)


                                                                                                                        28
’614 Patent: “means for causing sending of a buffer information report to a system station”
                          Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 30 of 47




    The identified structure (Fig. 3 and its description) is simply a generic
                         computer, not an algorithm




                                            ‘614 Pat. at 6:4-9




                                                                                               29
’614 Patent: “means for causing sending of a buffer information report to a system station”
                                Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 31 of 47




     Claim 13 replaces “means for” with generic processor nonce words,
                              invoking 112 ⁋ 6


       Undisputed claim 6 invokes 112 ⁋ 6                         “at least one processor; and at least one memory
                                                                  including computer program code the at least one
   “means for causing sending of a buffer
                                                                  memory and the computer program code
   information report to a system station from a
                                                                  configured to, with the at least one processor,
   node for relaying communications between at
                                                                  cause the apparatus … sending of a buffer information
   least one user station and the system station,                 report to a system station from a node for relaying
   the report being generated based on a report                   communications between at least one user station and the
   format used for uplink reporting by a user                     system station, the report being generated based on a
   station;”                                                      report format used for uplink reporting by a user station;”

   (Claim 6)                                                      (Claim 13)

                                                                                                                                30
’614 Patent: “means for causing sending of a buffer information report to a system station”
                                Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 32 of 47




  WSOU Investments, LLC v. Google LLC, 6:20-cv-00571-ADA, Dkt. 49 (W.D. Tex. June 2, 2021)           31
’614 Patent: “means for causing sending of an indication to the system station”
                                 Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 33 of 47




   Claim 6: “means for causing sending of an indication to the system station”
   Claim 13: “at least one processor; and at least one memory including computer program code the at least
   one memory and the computer program code configured to, with the at least one processor, cause the
   apparatus . . . sending of an indication to the system station”




                                                                                                             32
’614 Patent: “process an indication”
                               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 34 of 47




 Claim 14: “the at least one memory and the computer program code are further configured to, with the at
 least one processor, cause the apparatus to perform at least the following: process an indication that the
 buffer size of the node for relaying is extended from that of the user equipment and information of the size
 of the extension”

         OnePlus’s Proposed Construction                          WSOU’s Proposed Construction
     This claim should be construed under 35         Plain and ordinary meaning: This claim should not be
     U.S.C. 112, ¶6.                                 construed under 35 U.S.C. § 112, ¶ 6, nor is it indefinite.

     Function: indefinite.                           If the Court deems a construction is necessary:
     Structure: indefinite.
                                                     “the at least one memory and the computer program code are
     Alternatively:                                  further configured to, with the at least one processor, cause
     Function: processing an indication that the     the apparatus to perform at the least the following:
     buffer size of the node for relaying is
     extended from that of the user equipment      “process a signal signifying that the buffer size of the
     and information of the size of the extension. intermediate node is extended from that of the user
     Structure: none disclosed.                    equipment and information of the size of the extension”

                                                                                                                     33
’614 Patent: “process an indication”
                       Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 35 of 47




  The specification’s sole reference to “processing an indication” confirms that the
                                      phrase is indefinite




                                                                          ‘614 Pat. at 6:60-7:4
                                                                                                  34
’614 Patent: “process an indication”
                      Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 36 of 47




   The recited function of “processing an indication … ” is indefinite

 WSOU’s attempt to characterize “process an indication” as “taken into
  account” and “performing operations on data” is hopelessly vague.
   How is information is taken into account?

   What operation is performed on the data?

   How is the operation performed?




                                                                                           35
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The ’746 Patent – Markman Slides




                                                                           36
’746 Patent: “…importance…”   Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 38 of 47




 Claims 1, 11: “an importance of parts of channel information for the link adaptation”

               OnePlus’s Proposed Construction                          WSOU’s Proposed Construction
       Indefinite                                              Plain and ordinary meaning;

                                                               or, if the Court deems a construction is necessary:
                                                               “a priority of parts of channel information for the
                                                               link adaptation”

 Claim 2: “a lower importance with respect to link adaptation than said at least one part”

               OnePlus’s Proposed Construction                          WSOU’s Proposed Construction
       Indefinite                                              Plain and ordinary meaning;

                                                               or, if the Court deems a construction is necessary:
                                                               “a lower priority with respect to link adaptation
                                                               than said at least one part”


                                                                                                                     37
Claims Are Invalid If Infringement Is User-Context Dependent
                        Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 39 of 47




   Halliburton Energy Servs., Inc. v. M-I LLC, 514 F.3d 1244, 1254–55 (Fed. Cir. 2008) (A
    patent is invalid for indefiniteness where “a given embodiment would
    simultaneously infringe or not infringe the claims” depending on context and
    environmental conditions)

   Versata Software, Inc. v. Zoho Corp., 213 F. Supp. 3d 829, 837–38 (W.D. Tex. 2016)
    (“whether a certain user is infringing the asserted claims is context-dependent, and
    a context-dependent infringement determination is likely indefinite” citing
    Halliburton)




                                                                                             38
“Importance” Changes Based On Environment
                     Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 40 of 47




            ’746 Patent Col. 3 ll. 28-41

                                                                                          39
Claims Are Invalid If They Depend On Subjective User Assessment
                            Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 41 of 47




 Claims that Depend on User Assessment To Find Infringement Are Held
  Invalid:
   Uniloc 2017 LLC v. Samsung Elecs. Am., Inc., (No. 2:18-CV-00506-JRG, 2020 WL 248880, at *16–18 (E.D.
    Tex. Jan. 16, 2020)) claims reciting “important subject matter” were indefinite because “the ‘partition
    of important subject matter’ [was] subjective, because it requires a broadcaster to act on the
    ‘importance’ of the partition. In particular, what subject matter a broadcaster might deem to be
    ‘important’ will inevitably vary from person to person.”

   Crane Co. v. Sandenvendo Am., Inc., No. 2:07-CV-42-CE, 2009 WL 1586704, at *13 (E.D. Tex. June 5,
    2009) (claim reciting “rapidly” was not amenable to construction because “[t]he term is entirely
    subjective and is judged purely from the consumer’s standpoint.”)




                                                                                                          40
Different Users WillCase
                      Assign           Different
                         6:20-cv-00952-ADA Document 107-2 “Importance”
                                                           Filed 07/12/22 Page 42 of 47 to Different

Types of Channel Quality Information




’746 Patent Col. 4 ll. 9-19                           ’746 Patent Col. 4 ll. 27-35




                                                                                                       41
The ’746 Patent Does Not Teach Relative Importance
                    Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 43 of 47




              ’746 Patent Col. 11 ll. 24-40
                                                                                         42
’746 Patent: “coding level”    Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 44 of 47




 Claims 1, 11: “a coding level of said multi-level coding”
 Claims 2, 3: “coding level” (claims 1, 2, 3, 11)


                 OnePlus’s Proposed Construction                          WSOU’s Proposed Construction
        “a distinct detection probability level”                 Plain and ordinary meaning;

                                                                 or, if the Court deems a construction is necessary:
                                                                 “a coding level of said multi-level coding” / “coding
                                                                 level”




                                                                                                                         43
The Patent Repeatedly Ties “coding level” to Detection Probability
                               Case 6:20-cv-00952-ADA Document 107-2 Filed 07/12/22 Page 45 of 47




   Citation             Text
   Abstract             “In order to … adapt the detection probability to the importance of
                        CI … the method comprises encoding[] the channel information (CI)
                        using multi-level coding”
   2:18-20              “Assigning the at least a part of channel information to the
                        predefined coding level allows for controlling the detection
                        probability.”
   2:27-28              “a robust coding level (i.e., high detection rate)”
   2:50-53              “in other words, the parts of the channel information are prioritized
                        by assigning them different coding levels having different detection
                        probabilities.”

  See also Opening Claim Construction Brief 12-15

                                                                                                    44
These Repeated Explanations              Figures
                 Case 6:20-cv-00952-ADA Document           and
                                                 107-2 Filed 07/12/22Embodiments
                                                                      Page 46 of 47 Cannot
Be Ignored



 Howmedica Osteonics Corp. v. Zimmer, Inc., 822 F. 3d 1312, 1321
  (Fed. Cir. 2016) (limiting claim terms where the embodiments “are the
  only instances in which the patent specifies how to achieve the
  [patent’s] goals … [and] every description and every figure in the
  patent that discusses the issue” included defendant’s proposed
  claim limitation)




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These Repeated Explanations              Figures
                 Case 6:20-cv-00952-ADA Document           and
                                                 107-2 Filed 07/12/22Embodiments
                                                                      Page 47 of 47 Cannot
Be Ignored




 Abbott Lab’ys v. Sandoz, Inc., 566 F.3d 1282, 1288 (Fed. Cir. 2009)
  (“the claims cannot ‘enlarge what is patented beyond what the
  inventor has described as the invention.’”)




                                                                                             46
